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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     GOOGLE LLC,                                         Case No. 22-cv-02244-SVK
                                                        Plaintiff,                           ORDER REASSIGNING CASE
                                   5
                                                 v.
                                   6

                                   7     NCHE NOEL NTSE,
                                                        Defendant.
                                   8

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                                  10          IT IS ORDERED that this case has been reassigned using a proportionate, random and

                                  11   blind system pursuant to General Order No. 44 to the Honorable Edward J. Davila in the SAN

                                  12   JOSE division for all further proceedings. Counsel is instructed that all future filings shall bear
Northern District of California
 United States District Court




                                  13   the initials EJD immediately after the case number.

                                  14          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                  15   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                  16   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                  17   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  18   remain unchanged.

                                  19   Dated: April 14, 2022

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                                                                                         Mark B. Busby
                                  22                                                     Clerk, United States District Court
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                                  25   A true and correct copy of this order has been served by mail upon any pro se parties.
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